Case 2:05-cr-20180-SH|\/| Document 4 Filed 06/08/05 Page 1 of 2 Page|D 6

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Western Division

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UNITED STATES OF AMERICA ""“/D- ’»»"S‘ FN, i».€a';'i“.t?i- 15
-vs- Case No. 2:05cr20180-D
CHRISTOPHER WILLIS
a/k/a JOHN COBB

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,
the Court makes the following appointment pursuant to the Criminal Justiee Act (18 U.S.C. § 3006A):

APPOIN'I`MENT OF COUNSEL
- The Federal Publie Defender is appointed as counsel for the Defendant.

TYPE OF APPOINTMENT

oole and oRDERED in 167 North Main, Memphis, this §§ day OfJun@, 2005.

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TU M. PHAM
UNITED STATES MAGISTRATE IUDGE

Copies furnished to;

United States Attorney

United States Marshal

Pretrial Servioes Office

Assistant Federal Public Defender
Intake

CHRISTOPHER WILLIS

AKA JOHN COBB

 

STRICT COURT- WESTERN DISTRICT OF TENNESSEE

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UNITED STATE

Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CR-20180 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

